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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division



  JASON MARVIN SAUNDERS,
                                                            Criminal No.2:15cr2
                  Petitioner                                Civil No. 2;17cv610


           V.



  UNITED STATES OF AMERICA,

                  Respondent.


                               MEMORANDUM ORDER


          Before the Court is the Govemment's Motion to Compel Disclosure of Information from

 Former Counsel who represented Petitioner Jason Marvin Saunders in district and appellate court.

 Petitioner has filed a motion pursuant to 28 U.S.C. § 2255 to Vacate, Set Aside or Correct a

 Sentence Previously Imposed, which raises claims of ineffective assistance against his former

 counsel. In its Motion to Compel,the Government informs the Court that it has sought information

 from Petitioner's former coimsel that would enable it to respond to these claims, but that counsel

 have indicated that they believe a court order is necessary pursuant to Virginia Rules of

 Professional Conduct 1.6(b)(2)and the Virginia State Bar's Virginia Legal Ethics Opinion(L.E.O.

 1859).

          The Court finds that the applicable ethical rules do not require a court order before former

 counsel may disclose the requisite information. First, it is clear that Petitioner has waived his

 attorney-client privilege with respect toltis ineffective assistance ofcounsel claims. UnitedStates

 V. Pinson,584 F.3d 972. 978(10th Cir. 2009)("Given the ample, unanimous federal authority on

 point, we hold that when a habeas petitioner claims ineffective assistance of counsel, he impliedly
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 waives attorney-client privilege with respect to communications with his attorney necessary to

 prove or disprove his claim."); Freedman v. United States^ No. 7:10-CR-15, 2013WL4014974

 (E.D.N.C. Aug. 6, 2013)("[WJhere such communications are necessary to prove or disprove

 petitioner's claims, he has waived attorney-client privilege with respect to those claims for the

 purposes of these habeas proceedings."). See also Va. Code § 8.01- 654(B)(6)("If [a habeas

 corpus] petitioner alleges as a ground for illegality of his detention the inadequacy of counsel, he

 shall be deemed to waive his privilege with respect to communications between such counsel and

 himselfto the extent necessary to permit a full and fair hearing for the alleged ground.").

        Second, as to the attorney's duty of confidentiality (which may be broader than the

 attorney-client privilege, see Va. R. Prof. Conduct 1.6 Comment [3]), the applicable Rule of

 Professional Conduct explicitly provides that "[t]o the extent a lawyer reasonably believes

 necessary, the lawyer may reveal... such information to respond to allegations in any proceeding

 concerning the lawyer's representation of the client." Va. R. Prof. Conduct 1.6(b)(2). L.E.O.

 1859, upon which former counsel apparently relies, sets forth a requirement of "judicial

 supervision in a formal proceeding" that is broader than Rule 1.6(b)(2), and the Court accordingly

 declines to adopt or enforce this explicitly advisory opinion.

        Although an order is therefore not required by the ethical rules to allow former counsel to

 disclose the necessary information, the rule just cited only governs what an attorney may do, not

 what he or she is required to do. In this case, defense counsel has declined to provide information

 without an order from this Court. Accordingly, the Government's Motion is GRANTED and the

 Court ORDERS Petitioner's former counsel, Rodolfo Cejas,II, Suzanne V. Katchmar and Patrick

 L. Bryant, to provide the Government with whatever information is "reasonably believe[d]

 necessary" to respond to the allegations in Petitioner's petition within 30 days ofthe date of entry
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 ofthis Order. The Court declines to provide more detailed guidelines at thisjuncture, but iffurther

 guidance is required, the parties may file additional motions.

        The Court DIRECTS the Clerk to provide a copy of this Order to the Petitioner, to the

 United States Attomey's Office for the Eastern District of Virginia, and to Petitioner's former

 counsel, Rodolfo Cejas, 11, Suzanne V. Katchmar and Patrick L. Bryant.

 IT IS SO ORDERED



Norfolk, Virginia
March                                                              Raymond A.Jackson
                                                                   United States District Judge
